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 1
 2                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA
 3
 4 MS. L, et al.,                                      Case No. 18cv428 DMS MDD
 5
                    Petitioners-Plaintiffs,
 6                                                     JOINT STATUS REPORT
 7         vs.

 8 U.S. IMMIGRATION AND CUSTOMS
 9 ENFORCEMENT, et al.,
10                  Respondents-Defendants.
11
12
13        The Court ordered the parties to file a joint status report (JSR) by 3:00 pm on

14 December 4, 2019, in anticipation of the status conference scheduled at 2:15 pm on
15 December 6, 2019. The parties submit this joint status report in accordance with the
16 Court’s instruction.
17 I.    DEFENDANTS’ POSITIONS

18     A. Update on Reunifications for the Original Class Period

19         As of December 2, 2019, Defendants have discharged 2,791 of 2,814 possible

20 children of potential class members for the original class period. That is, Defendants
21 have discharged 2,791 of the 2,814 possible children of potential class members who
22 were in the care of the Office of Refugee Resettlement (ORR) as of June 26, 2018.
23 See Table 1: Reunification Update. This is an increase of two discharges reported in
24 Table 1 since the JSR filed on November 6, 2019. See ECF No. 495.
25       Currently, there is one child of a class member from the original class period

26 who remains in ORR care and is proceeding towards reunification or other
27 appropriate discharge. This child has a parent who departed from the United States,
28

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 1 but the Steering Committee has advised that resolution of parental preference will
 2 be delayed. Defendants are supporting the efforts of the Steering Committee to
 3 obtain a statement of intent from the parent. Once Defendants receive notice from
 4 the Steering Committee, Defendants will either reunify the child or move him into
 5 the TVPRA sponsorship process, consistent with the intent of the parent.
 6         The current reunification status for the 2,814 children ages 0 through 17 for
 7 the original class period, who have been the focus of Defendants’ reporting to date,
 8 is further summarized in Table 1. The data in Table 1 reflects approximate numbers
 9 on these children maintained by ORR at least as of December 2, 2019. These
10 numbers are dynamic and continue to change as more reunifications, determinations
11 on class membership, or discharges occur.
                              Table 1: Reunification Update
12
                                                      Phase 1   Phase 2
13                     Description                    (Under 5) (5 and Total
                                                                above)
14 Total number of possible children of potential
                                                         107      2707  2814
15 class members
                                   Discharged Children
16 Total children discharged from ORR care:              107      2684  2791
17 • Children discharged by being reunified with         82       2086  2168
       separated parent
18
   • Children discharged under other appropriate
19     circumstances (these include discharges to
       other sponsors [such as situations where the      25        598   623
20
       child’s separated parent is not eligible for
21     reunification] or children that turned 18)
22                       Children in ORR Care, Parent in Class

23   Children in care where the parent is not eligible
     for reunification or is not available for discharge    0           1         1
24   at this time:

25   • Parent presently outside the U.S.                    0           1         1
          o Steering Committee has advised that             0           1         1
26           resolution will be delayed
27   • Parent presently inside the U.S.                     0           0         0
28

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 1         o Parent in other federal, state, or local  0                 0          0
              custody
 2         o Parent red flag case review ongoing –     0                 0          0
 3            safety and well being
                       Children in ORR Care, Parent out of Class
 4
     Children in care where further review shows
 5   they were not separated from parents by DHS       0                 3          3

 6   Children in care where a final determination has
     been made they cannot be reunified because the          0           8          8
 7   parent is unfit or presents a danger to the child
     Children in care with parent presently departed
 8   from the United States whose intent not to              0           10        10
     reunify has been confirmed by the ACLU
 9   Children in care with parent in the United States
     who has indicated an intent not to reunify              0           0          0
10   Children in care for whom the Steering
     Committee could not obtain parental preference          0           1          1
11
12
13     B. Update on Removed Class Members for the Original Class Period
14         The current reunification status of removed class members for the original
15 class period is set forth in Table 2 below. The data presented in this Table 2 reflects
16 approximate numbers maintained by ORR as of at least December 2, 2019. These
17 numbers are dynamic and continue to change as the reunification process moves
18 forward.
19                 Table 2: Reunification of Removed Class Members
      REUNIFICATION REPORTING METRIC                  NO.                 REPORTING
20    PROCESS                                                             PARTY
21    STARTING
      POPULATION    Children in ORR care with parents 12                  Defs.
22                  presently departed from the U.S.

23    PROCESS 1:
24    Identify & Resolve Children with no “red flags” for           12    Defs.
      Safety/Parentage   safety or parentage
25    Concerns

26    PROCESS 2:             Children with parent contact
      Establish Contact      information identified                 12    Defs.
27
28

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     with Parents in
 1   Country of Origin    Children with no contact issues        12   Defs. & Pls.
                          identified by plaintiff or defendant
 2
                          Children with parent contact
 3                        information provided to ACLU by        12   Defs.
                          Government
 4
     PROCESS 3:           Children for whom ACLU has
 5   Determine            communicated parental intent for       10   Pls.
     Parental Intention   minor:
 6   for Minor
                             • Children whose parents            10   Pls.
 7
                               waived reunification
 8
                             • Children whose parents
 9                              chose reunification in           0    Pls.
                                country of origin
10
                             • Children proceeding outside       0    Pls.
11                              the reunification plan
                          Children for whom ACLU has not
12                        yet communicated parental intent       1    Pls.
                          for minor:
13
                             • Children with voluntary
14                              departure orders awaiting        0    Defs.
                                execution
15
                             • Children with parental
16                              intent to waive reunification    0    Defs.
17                              documented by ORR
                             • Children whose parents
18                              ACLU has been in contact         0    Pls.
19                              with for 28 or more days
                                without intent determined
20                        Children whose parents steering
                          committee could not obtain             1    Pls.
21                        parental preference
22   PROCESS 4:          Total children cleared Processes 1-
     Resolve             3 with confirmed intent for             0    Pls.
23   Immigration         reunification in country of origin
     Status of Minors to
24   Allow                  • Children in ORR care with
     Reunification              orders of voluntary              0    Defs.
25
                                departure
26
27
28

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 1                                     • Children in ORR care w/o
                                         orders of voluntary                         0     Defs.
 2                                       departure
 3                                        o Children in ORR care
                                             whose immigration                       0     Defs.
 4                                           cases were dismissed
 5
 6        C. Update Regarding Government’s Implementation of Settlement
 7           Agreement
 8
 9          SETTLEMENT                     DESCRIPTION                              NUMBER
               PROCESS
10       Election Forms 1             Total number of                    427
                                      executed election forms (250Parents/177Children)2
11                                    received by the
                                      Government
12                                       • Number who elect      266 (147 Parents/119
                                             to receive                Children)
13                                           settlement
                                             procedures
14                                       • Number who            161 (103 Parents/58
                                             waive settlement         Children)3
15                                           procedures
         Interviews                   Total number of class              1614
16                                    members who received
                                      interviews
17                                       • Parents who                    84
                                             received
18                                           interviews
19
20   1
       The number of election forms reported here is the number received by the Government as of November
     6, 2019.
21   2
       The number of children’s election forms is lower than the number of parent election forms because in
22   many instances a parent electing settlement procedures submitted an election form on his or her own behalf
     or opposing counsel e-mailed requesting settlement implementation for the entire family, but no separate
23   form was submitted on behalf of the child.
     3
       The number of children’s waivers is lower because some parents have submitted waivers only for
24   themselves and some parents who have waived reunification also waived settlement procedures and have
     therefore not provided a form for the child.
25   4
       Some individuals could not be interviewed because of rare languages; these individuals were placed in
26   Section 240 proceedings. This number includes credible fear and reasonable fear interviews, as well as
     affirmative asylum interviews.
27
28

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                                          • Children who                                77
 1                                           received
                                             interviews
 2
         Decisions                    Total number of                                  69 5
 3                                    CFI/RFI decisions issued
                                      for parents by USCIS
 4                                        • Number of parents                          68 6
                                             determined to
 5                                           establish CF or RF
                                             upon review by
 6                                           USCIS
                                          • Number of parents                            1
 7                                           whose CF or RF
                                             finding remains
 8                                           negative upon
                                             review by USCIS
 9                                    Total number of CFI                              73 7
                                      decisions issued for
10                                    children by USCIS
                                          • Number of                                  73 8
11                                           children
                                             determined to
12                                           establish CF by
                                             USCIS
13                                        • Number of                                    0
                                             children
14                                           determined not to
                                             establish CF by
15                                           USCIS
                                      Total number of                                   14
16                                    affirmative asylum
                                      decisions by USCIS
17                                        • Number of parents                            2
                                             granted asylum by
18                                           USCIS
19   5
       This number is the aggregate of the number of parents whose negative CFI/RFI determinations were
     reconsidered, number of parents whose negative CFI/RFI determination was unchanged, and individuals
20   who were referred to 240 proceedings without interview because of a rare language. This number excludes
     12 cases where a parent already had an NTA from ICE or was already ordered removed by an Immigration
21   Judge (which are included in the interview totals).
     6
22    This number includes parents who received positive CF/RF determinations upon reconsideration, parents
     who received a Notice to Appear based on their child’s positive CF determination, and parents who were
23   placed in Section 240 proceedings due to a rare language.
     7
      This number is the aggregate of the number of children who received a positive CF determination, the
24   number of children who received a negative CF determination, and children who were referred to Section
     240 proceedings without interview because of a rare language.
25   8
       This number includes children who received a positive CF determination, children who received a Notice
26   to Appear as a dependent on their parent’s positive CF determination, and children who were placed in
     Section 240 proceedings due to a rare language.
27
28

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                                            • Number of parents                            2
 1                                              referred to
                                                immigration court
 2                                          • Number of                                    39
                                                children granted
 3                                              asylum by USCIS
                                            • Number of                                    7
 4                                              children
                                                referred/returned
 5                                              to immigration
                                                court
 6
         Removals                        Number of class                           103 Parents10
 7                                       members who have been
                                         returned to their country
 8                                       of origin as a result of
                                         waiving the settlement
 9                                       procedures
10
           D. Parents Who ICE Records Reflect Have Absconded After Being
11            Released
12
            Absconders                         Number of Parents
13                                             who absconded from                         19511
                                               enrollment in ATD
14                                             (Alternatives To
                                               Detention)
15
16         E. Update Regarding Identification of Expanded Class Members
17             On April 25, 2019, the Court approved Defendants’ Plan for identifying

18 members of the expanded class. Defendants have now completed identifying
19 members of the expanded class to Plaintiffs’ counsel, and have produced Batches 1
20 through 11 to Plaintiffs. The Steering Committee notified Defendants that in the 11
21 batches there were 149 individuals who have been identified by the government as
22 being both children of potential expanded class members and “exclusions.”
23 Defendants are in the final stage of reviewing these 149 cases and an additional 35
24 cases (for a total of 184) which needed updated determinations based on additional
25   9
         This number includes children granted asylum as a dependent on their parent’s asylum application.
     10
          This number is as of November 23, 2019.
26
     11
       Absconder is defined as an alien who has been ordered deported or removed whose whereabouts are
27   unknown to DHS.

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 1 information that became available over the course of the six month reporting period
 2 for identifying the expanded class. Once the list is cleared by DHS and HHS it will
 3 be produced to Plaintiffs.
 4     F. Government Processes, Procedures, and Tracking, for Separations Since
 5        June 26, 2018.
 6        Data Requested by Plaintiffs. Defendants are providing Plaintiffs updated
 7 reports containing information regarding parents and children separated since the
 8 Court’s June 26, 2018 preliminary-injunction order on the Friday following the filing
 9 of each JSR. The parties have discussed amending this schedule so that Defendants
10 will produce these updated reports on a monthly basis. Defendants provided
11 Plaintiffs with an updated report on November 8, 2019, and continue to work to
12 implement monthly reporting on a regular schedule.
13        Processes and Procedures. Defendants provided a summary outline to the
14 Court and to Plaintiffs memorializing the processes, procedures, tracking, and
15 communication between the agencies that have been adopted by the agencies since
16 June 26, 2018. The outline also included an overview of the options for separated
17 parents and children to obtain information about reunification options. The parties
18 have met and conferred since then regarding the government’s proposals.
19 Defendants have held several internal telephonic meetings, and have spoken with
20 representatives for the Bureau of Prisons and the U.S. Marshals Service to ensure
21 that those entities are included in discussions regarding these processes and
22 procedures. After numerous conferrals, Defendants provided additional information
23 to Plaintiffs on September 4, 2019, and requested that Plaintiffs clarify what
24 information they were seeking with regard to other inquiries. Plaintiffs have not
25 raised any additional concerns regarding Defendants’ processes since the last JSR
26 and status conference.
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 1        In addition to the procedures described in previous filings, Defendants have
 2 now implemented the use of a tear sheet for families parents and children that are
 3 separated that provides information about the separation to the separated parent, as
 4 well as information about how to locate their children. The tear sheet also includes
 5 an email address by which separated parents can provide information to DHS that
 6 they wish to have considered. This email address has also been provided to
 7 Plaintiffs’ counsel and other interested counsel.
 8        Following the November 8 status conference, the Court directed the parties to
 9 continue to meet and confer on the information sharing protocols between the
10 government agencies involved in family separations, and between the government
11 and Plaintiffs and the legal service providers. On November 19, the parties met and
12 conferred regarding the information sharing protocols. On November 22,
13 Defendants provided Plaintiffs, pursuant to the Protective Order, with the Office of
14 Refugee Resettlement’s draft guidance to its field staff regarding new separations.
15 Defendants asked Plaintiffs to share with them any specific problems they were
16 aware of regarding the information sharing protocols. On December 1, Plaintiffs sent
17 follow-up questions and requests for clarification about the protocols to Defendants.
18 Defendants are reviewing Plaintiffs requests for additional information and will
19 respond accordingly.
20 II.    MS. L. PLAINTIFFS’ POSITION
21 A.     Steering Committee Outreach to Sponsors and Parents of Children of
22        Expanded Class Members
23        As of the date of this report, the government has provided eleven lists

24 identifying 1,556 children of potential expanded class members. Plaintiffs have
25 initially focused on reaching children whose membership in the class is not
26 contested, and for whom the government has provided at least one phone number
27
28

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 1 for a sponsor or for the child’s parent. There are 998 children that meet that
 2 description. 12
 3         The Steering Committee begins by calling the provided phone numbers.
 4 Where the phone number is for a sponsor and not a separated parent, the Steering
 5 Committee attempts to reach the sponsor, then obtain contact information for the
 6 parent, and then finally reach the parent.
 7         As of December 4, the Steering Committee has made over 4,600 phone calls
 8 to the families of 913 of these 998 children. Of the 913 families to whom the Steering
 9 Committee has attempted outreach, the Steering Committee has successfully reached
10 455 sponsors or their attorneys, and 313 parents or their attorneys. There is
11 significant overlap in these two groups, but for 398 families the Steering Committee
12 has not yet been able to reach either a sponsor or a separated parent.
13 B.      Steering Committee Progress Contacting “Unreachable” Parents
14         There are currently 685 children for whom the Steering Committee has not
15 yet successfully reached the separated parent. For approximately half of these
16 families, the Steering Committee is hopeful that continued telephonic outreach
17 attempts will ultimately results in successful contact with the separated parent, and
18 the Steering Committee is actively making these calls. For 317 families in this
19 group, the Steering Committee has been unable to reach a parent despite multiple
20         12
            The eleven lists identify a total of 1,556 unique children, 1,095 of which
21 have been identified by the government as being children of potential expanded
   class members, 312 of which have been categorized as “exclusions”, and 149 of
22 which have been identified by the government as being both children of potential
   expanded class members and “exclusions” inconsistently across the government’s
23 various lists. As discussed during the last Status Conference, the Steering
   Committee has requested that the government clarify its position with respect to
24 the class membership of the parents of these 149 children, and as of December 4,
   the government has not yet responded. In the interim, the Steering Committee has
25 actively attempted to reach families in this category, and as of December 4 has
   successfully reached 63 sponsors or their attorneys, and 29 parents or their
26 attorneys, in this group. The Steering Committee also intends to reach individuals
   the government has categorized as excluded from the class, and Plaintiffs reserve
27 the right to contest those exclusions.
28

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 1 attempts, and is not optimistic that continued telephone outreach alone will be
 2 successful. These cases include situations in which the phone numbers for sponsors
 3 do not work, are not answered, or appear to belong to unrelated third parties, and
 4 they also include cases where the sponsor has been reached at a phone number
 5 provided by the government, but is unable or unwilling to provide the Steering
 6 Committee with a way to reach the parent.
 7        As noted in previous Joint Status Reports, the Steering Committee has
 8 commenced extensive efforts to locate these “unreachable” parents in their
 9 respective countries of origin, and is currently actively engaged in on-the-ground
10 searches for parents across Central America. As of December 4, Steering Committee
11 members had successfully tracked down and established contact with 82 families
12 and we continue our efforts. Additionally, since the last Joint Status Report, the
13 Steering Committee has commenced additional efforts to contact the unreachable
14 parents, including those believed to be in the United States. The Steering Committee
15 is establishing a toll-free telephone number to receive inbound phone calls from
16 potential members of the expanded class. We will be distributing this number both
17 by email and U.S. Mail to non-governmental organizations and other community
18 organizations who may be able to help us locate parents because they work in the
19 communities these parents are likely to have contact with. In addition, we are
20 preparing a mailing to sponsors and parents who have not responded to phone calls,
21 at the addresses provided by the government, asking parents and sponsors to call this
22 toll-free number.
23        Finally, we will be exploring the possibility of publicizing the toll-free
24 number in Spanish language media. If we determine this method of contacting
25 parents is feasible, depending upon the anticipated costs of these efforts, we will
26 raise the issue of reimbursement for the expense of these efforts with the
27 government, and if the government is unwilling to assist, with the Court.
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 1 C.      Steering Committee Progress for June 26 Initial Class
 2         The Steering Committee has successfully contacted and confirmed the
 3 preferences of nearly all removed parents with respect to reunifications. As
 4 previously reported in the last Joint Status Report, most recently on October 21, the
 5 government reported that 13 children with removed parents remained in ORR
 6 custody. The Steering Committee has advised the government that no preference
 7 will be forthcoming for one of those parents due to complex and individualized
 8 family circumstances, leaving 12 children with removed parents in the operative
 9 group. The Steering Committee has delivered preferences for 11 parents of those
10 children. The parent of the remaining child sought and was granted the opportunity
11 to return to the United States pursuant to the Court’s September 4 Order, and after
12 returning to the United States looks forward to commencing the process to be
13 reunified with her son.
14 D.      Information Sharing
15         The parties continue to meet and confer regarding information sharing among
16 government agencies, and from the government to parents and children whom the
17 government has separated. On November 22, the government produced internal
18 HHS training materials for new separations to Plaintiffs, and on December 2,
19 Plaintiffs sent the government questions in response. The parties also conferred by
20 phone on December 2, and will continue these discussions.
21    E. Relief for Deported Parents
22        The parties are meeting and conferring as to the process by which Defendants
23 will comply with the Court’s September 4 Order. Plaintiffs will update the Court as
24 to the status of the negotiations in the next joint status report.
25
26
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 1 III.   MMM-Dora Plaintiffs’ Report Regarding Settlement Implementation
 2     The parties continue to work together to implement the settlement agreement
 3 approved on November 15, 2018. Class counsel are providing the Government with
 4 signed waiver forms as they are received from class members, and class counsel are
 5 continuing to work on outreach efforts to class members who may qualify for relief
 6 under the settlement. The parties continue to meet and confer on issues related to
 7 settlement implementation as they arise.
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